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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.:


 LAZARO REGALADO

       Plaintiff,

 v.

 GC SERVICES LIMITED
 PARTNERSHIP, a Delaware limited
 partnership

       Defendant.



                                         COMPLAINT

        COMES NOW, the Plaintiff, LAZARO REGALADO, hereinafter “Plaintiff” by and

 through the undersigned counsel and hereby brings this action against Defendant, GC

 SERVICES LIMITED PARTNERSHIP, hereinafter “Defendant”, for actual and statutory

 damages for violations under the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq.

 (hereinafter the “FDCPA”), and in support thereof alleges as follows:

                                        JURISDICTION

 1.   Jurisdiction is conferred on this Court by Title 28 U.S.C. §1331 and §1337(a), and §15

      U.S.C. §1692k(d).

 2.   Declaratory relief is available pursuant to 28 U.S.C. §2201 and §2202.


                                             VENUE

 3.   Venue is proper in the United States District Court for the Southern District of Florida

      pursuant to 28 U.S.C. §1391, as the unlawful practices alleged herein took place in Miami-
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      Dade County, Florida and the Defendant is a Delaware limited partnership whose transacts

      business in Miami-Dade County, Florida and venue, therefore, properly lies in this Court.



                                               PARTIES

 4.   Plaintiff, Lazaro Regalado is an individual residing in the County of Miami-Dade, State of

      Florida, and is a “consumer” as defined by 15 U.S.C. §1692a(3).

 5.   Defendant, GC Services Limited Partnership, is a Delaware limited partnership, and has its

      principal place of business in Miami-Dade County, Florida where it engages the collection

      of consumer debts and is therefore defined as a “Debt Collector” pursuant to 15 U.S.C

      §1692a(6).


                                           BACKGROUND

 6.   The Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq. (hereinafter “FDCPA”),

      was enacted in 1978 to eliminate abusive practices in the collection of consumer debts, to

      promote fair debt collection and to provide consumers with an means for disputing and

      obtaining validation of debt information to ensure the information’s accuracy.

 7.   Plaintiff, is alleged to have incurred a financial obligation for a private Student Loan. Such

      financial obligation is a “debt” as defined by 15 U.S.C. §1691a(5).

 8.   On or about June 19, 2014, at approximately 2PM EST, the Plaintiff was on a

      conference call with a friend and the Defendant, in regards to his private student

      loan. The call was transferred to the student loan division.          After being shuffled

      through several representatives they were placed on the line with a representative

      named Tonya. At no time during this call did Tonya disclose in the initial oral

      communication, with the Defendant, that she was a debt collector and she was
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       attempting to collect a debt and any information obtained will be used for that

       purpose.

                                   COUNT I
           VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. §1692 et seq.

 9.     Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1 through 8,

        herein.

 10.    Defendant violated §1692e(11) by failing to inform the communication is from a debt

        collector in its June 19, 2014 correspondence to the Plaintiff.

 11.    The foregoing acts and omissions of Defendant constitute violations of the FDCPA.

 12.    As a result of Defendant’s FDCPA violations, Plaintiff has suffered costs and expenses as

        well as actual damages and is thus entitled to an award of actual damages pursuant to 15

        U.S.C. §1692k(a)(1), statutory damages in the amount up to $1,000.00 pursuant to 15

        U.S.C. §1692k(a)(2)(A); and reasonable attorneys fees and costs pursuant to 15 U.S.C.

        §1692k(a)(3) from Defendant.



        WHEREFORE, Plaintiff, prays that this Court enter judgment against the Defendant for

 an award of actual damages pursuant to 15 U.S.C. §1692k(a)(1) against Defendant, statutory

 damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A), against Defendant, an award of

 costs of litigation and reasonable attorneys fees pursuant to 15 U.S.C. §1692k(a)(3) against

 Defendant, and other such relief in the discretion of this Court.


                                     JURY TRIAL DEMAND

 13.    Plaintiffs request a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

        Procedure.
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       DATED: July 2, 2014


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